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                        UNITED STATES OF AMERICA
                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN

 ____________________________________

 UNITED STATES OF AMERICA,                         Case No. 17-cr-20274

              Plaintiff,                           Honorable Bernard A. Friedman

 v.                                                STIPULATION AND
                                                   ORDER TO ALLOW BOND
                                                   MODIFICATION
 D-2, FAKHRUDDIN ATTAR and
 D-3, FARIDA ATTAR,

              Defendants.

 ____________________________________

 Fakhruddin Attar, through his attorney Mary Chartier and Farida Attar, through her

 attorney Matthew R Newburg, and the United States government, through its

 attorney Sara Woodward, stipulate that the Attars bond conditions be modified to

 permit the use of a computer to access the internet to allow them to

 livestream religious sermons on the following dates:


       August 29, 2018 - 6:00 p.m. to 10:00 p.m. [Arafa day]

       September 11, 2018 through September 19, 2018 - 9:00 a.m. to
        2:00 p.m. and 7:30 p.m. to 10:30 p.m. [Ashara]

       September 20, 2018 - 9:00 a.m. to 2:00 p.m. and 4:00 p.m. to 9:00
        p.m. [Ashara]



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    Other internet access not permitted by the bond conditions is

 prohibited.



                                       Respectfully submitted,

 08/08/18                              /s/MARY CHARTIER
 Date                                  Mary Chartier


 08/08/18                              /s/MATT NEWBURG
 Date                                  Matthew R. Newburg


 08/08/18                              /s/SARA WOODWARD
 Date                                  Sara Woodward


                                      ORDER

 The Attars bond conditions shall be modified to permit the following subject to the

 approval of Pretrial Services:


     August 29, 2018 - 6:00 p.m. to 10:00 p.m. [Arafa day]

     September 11, 2018 through September 19, 2018 - 9:00 a.m. to
      2:00 p.m. and 7:30 p.m. to 10:30 p.m. [Ashara]

     September 20, 2018 - 9:00 a.m. to 2:00 p.m. and 4:00 p.m. to 9:00
      p.m. [Ashara]



 Dated: August 29, 2018                s/Bernard A. Friedman
 Detroit, Michigan                     BERNARD A. FRIEDMAN
                                       SENIOR UNITED STATES DISTRICT JUDGE


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